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   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 1 of 25 PageID #:167


                                                                         FILED
                        UNITED STATES DISTRICT COURT                         JAN   2 1zrJ$w
                        NORTHERN DISTRICT OF ILLINOIS                      THOMASG. BRUTON
                              EASTERN DIVISION                         CLERK U.S. DTSTR|CT COURT


UNITED STATES OF AMERICA
                                                      3.S#ffiffi
                v.                                 SUPERSEDING INDICTMENT

ROMEO BLACKMAN, aka "O" or "O-Dog," Violations: Title 18, United States
TERRANCE SMITH, aka "T,"            Code, Sections 1959(a)(1), 1959(aX3),
JOLICIOUS TURMAN, aka "Jo Jo," and, 1959(aX5), \962(d), and 924(c)(1)(A)
NATHANIEL MCELROY, aka "Nate" or                   and2
     "Nation"                                               JUIIG.E BTAKEY
                                                          MAGISTRATE JUDGE MASON
                                     COIJI{T ONE

       The SPECIAL FEBRUARY 2Ol7 GRAND JURY charges:

                          THE RACKETEERING EI\TTERPRISE

       At all times material to this indictment:

       1.    The defendants, and others known and unknown to the Grand Jury,

were members and associates of the "Goonie Boss/Goonie Gang" street gang,               a

criminal organizatron whose members and associates engaged in acts of violence,
including but not limited to murder, attempted murder, assault with a dangerous

weapon and assault resulting in serious injury, and which operated on the South Side

of Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere.

      2.     The "Goonie Boss/Goonie Gang" street gang, including its leadership,

membership, and associates, constituted an "enterprise," as defined        in Title   18,

United States Code, Section 1961(4) (hereinafter, "the Goonie Enterprise"), that is, a

group of individuals associated in fact, which enterprise engaged in, and the activities

of which affected, interstate and foreign commerce.
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 2 of 25 PageID #:167




        3.    The Goonie Enterprise constituted an ongoing organization            whose

members functioned as a continuing unit for a cornmon purpose of achieving the

objectives of the enterprise.

        4.    ROMEO BLACKMAN, aka "O" or "O-Dog," TERRANCE SMITH, aka

"T," JOLICIOUS TURMAN, aka "Jo Jo," and NATIIANIEL MCELROY, aka "Nate"

or "Nation," the defendants, and others known and unknown to the Grand         Jrry, were

leaders, members and associates of the Goonie Enterprise who carried out and

directed other members of the Goonie Enterprise in carrlring out unlawful and other

activities in furtherance of the conduct of the Goonie Enterprise's affairs.

        5.    The Goonie Enterprise has been engaged in a long standing and violent

feud   with several rival Englewood street gangs, including, "Push Squad" and "T-
Love," among others. Over the course of these conflicts, Goonie Enterprise members

and associates have committed acts ofviolence against their rivals, inside rival areas,

and any areas rivals are perceived to be.

        6.    Certain members and associates enjoyed significant power and respect

within the Goonie Enterprise. ROMEO BLACKMAN, aka "O" or "O-Dog," the
defendant, acted as one of the Goonie Enterprise's leaders.

                         PURPOSES OF THE ENTERPRISE

        7.    The purposes of the Goonie Enterprise included, but were not limited to,

the following:

              a.    Acquiring, preserving, and protecting power, territory, operations

and proceeds for the enterprise through the use of threats, intimidation and violence,
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 3 of 25 PageID #:167




including but not limited to, acts of murder, attempted murder, assault with a

dangerous weapon, and other acts of violence and threats of violence;

              b.     Promoting and enhancing the enterprise and its members' and

associates' activities;

              c.     Increasing the status of the enterprise through the use of social

media platforms;

              d.     Keeping victims, rival gang members, and witnesses in fear of the

enterprise and its leaders, members and associates through acts and threats of

violence;

              e.     Taking steps designed to prevent law enforcement's detection of

the enterprise's criminal activities;

              f.     Seeking to prevent punishment, including criminal punishment,

for its leaders, members, and associates, through threats of and by the use of murder,

violence, and intimidation directed towards witnesses, victims and others; and

              g.     Enriching the leaders, members and associates of the enterprise

through, among other things, theft of firearms and the illegal traffrcking of controlled

substances.

                          ROLES IN THE ENTERPRISE

      8.      At all times material to this indictment:

              a.     ROMEO BLACKMAN, aka "O" or "O-Dog, was a leader of the

Goonie Enterprise and,    in that role, BLACKMAN oversaw, directed, guided and
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 4 of 25 PageID #:167




participated in the illegal activities of the enterprise, including, but not limited to,

acts involving murder and other acts of violence.

             b.     TERRANCE SMITH, aka "T," served the enterprise by, among

other things, directing and participating in the illegal activities of the enterprise,

including, but not limited to, acts involving murder and other acts of violence.

             c.     JOLICIOUS TURMAN, aka "Jo Jo," served the enterprise by,

among other things, directing and participating       in the illegal activities of the
enterprise, including, but not limited to, acts involving murder.

             d.     NATHANIEL MCELROY, aka "Nate" or "Nation,,, served the

enterprise by, among other things, providing firearms that were used by members of

the enterprise to conduct their illegal activities, including, but not limited to acts

involving murder and other acts of violence.

                        RACKETEERING CONSPIRACY

      9.     Beginning no later than in or about 20L4 and continuing through in or

about June 2018, in the Northern District of Illinois, Eastern Division, and elsewhere,

                      ROMEO BLACKMAN, alWa "O" or "O-Dog"
                           TERRANCE SMITH, aM a,,T,,,
                       JOLICIOUS TURMAN, aMa "Jo Jo" and
                    NATHANIEL MCELROY, aMa "Nate" or "Nation"

defendants herein, and others known and unknown to the Grand Jrry, being persons

employed by and associated with the Goonie Enterprise, which engaged in, and the

activities ofwhich affected, interstate commerce, knowingly conspired to violate Title

L8, United States Code, Section lg62(c), that is, to conduct and participate directly

and indirectly, in the conduct of the affairs of that enterprise through a pattern of
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 5 of 25 PageID #:167




racketeering activity consisting of multiple acts involving murder, in violation of

Chapter 720, Illinois Compiled Statutes, Sections 5/5-1, 515-2,518-t,5,18-2,518-4, and

5/9-L, 519-2, and 5/9-3.

       10. It was further part of the conspiracy that each defendant        agreed that a

conspirator would commit at least two acts of racketeering activity in the conduct of

the affairs of the enterprise.

            MEANS AND METHODS OF THE RICO CONSPIRACY

       11. It was further part of the conspiracy      that the means and methods by
which the defendants and their associates conducted and participated in the conduct

of the affairs of the enterprise included the following:

              a.     Members of the enterprise and their associates initiated members

through the practice of causing them to endure physical assaults conducted by

members of the enterprise at various gang-related gatherings;

             b.     Members of the enterprise and their associates initiated members

through the practice of encouraging them to shoot at rival gang members;

             c.     Members of the enterprise and their associates employed and

used gang-related terminolory, symbols and gestures;

             d.     Members of the enterprise and          their associates promoted the
enterprise on social media sites including Facebook. For example, Goonie members

posted comments, photographs, and videos and used the Facebook Live feature

during which they, among other things, proclaimed their membership               in   the
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 6 of 25 PageID #:167




enterprise and boasted about illegal activities, including murders and other acts of

violence;

              e.     Members ofthe enterprise and their associates attended meetings

at which they      discussed, planned and otherwise engaged       in criminal activity
including murder, attempted murder, assault with a dangerous weapon, assault

resulting in serious injury and witness tampering;

              f.     Members of the enterprise enforced discipline and rules of the

enterprise, by enforcing a system of "violations,"     in which the members of the
enterprise and others threatened and physically assaulted those individuals who

violated the rules, questioned authority or posed a threat to the leaders or purpose of

the enterprise;

             g.      To perpetuate the enterprise and to maintain and extend their

power, members of the enterprise and their associates committed illegal acts,

including, but not limited to, murder, attempted murder, assault with     a dangerous
weapon, assault resulting      in   serious injury and witness tampering against

individuals who posed a threat to the enterprise or jeopardized its operations,

including rival gang members and witnesses to the illegal activities of the enterprise;

             h.      Members of the enterprise and their associates used multiple

cellular telephones to communicate with one another concerning and during the

commission of the enterprise's illegal activities;
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 7 of 25 PageID #:167




               i.     Members of the enterprise and their associates utilized Facebook

to communicate with one another concerning and during the commission of the

enterprise's illegal activities;

               j.     Members of the enterprise and their associates obtained, used,

carried, possessed, brandished, and discharged firearms         in   connection   with the
enterprise's illegal activities, including, but not limited to, murder, attempted

murder, and assault with a dangerous weapon;

               k.     Members of the enterprise and     their   associates managed the

procurement, transfer, use, maintenance, concealment, and disposal of firearms and

dangerous weapons      within the enterprise to protect their territory, personnel and
operations, and to deter, eliminate and retaliate against competitors, rival criminal

organizations and persons, and individuals suspected of cooperating with law

enforcement;

               l.     Members of the enterprise and their associates concealed and hid,

and caused to be concealed and hidden, the purposes of the acts done in furtherance

of the enterprise, and used coded language and other techniques and other means to

avoid detection and apprehension by law enforcement and otherwise to provide

security to members and associates of the enterprise.

               m.     Members of the enterprise and their associates monitored law

enforcement radio frequencies in order to detect and avoid law enforcement inquiry

into their illegal activities;
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 8 of 25 PageID #:167




             n.          Members   of the enterprise and their     associates possessed,

distributed, and possessed with intent       to distribute marijuana and        controlled

substances in the conduct of the affairs of the enterprise;

             o.          Members of the enterprise and their associates committed

murders in the conduct of the affairs of the enterprise including, but not limited to,

the following:

                     i.       The murder of Johnathon Johnson              by    ROMEO

BLACKMAN on or about January 22,20L4;

                   ii.        The murder of Alonzo Williams by ROMEO BLACKMAN

on or about March 2L,2014;

                   iii.       The murder of Stanley Bobo by ROMEO BLACKMAN,

TERRANCE SMITH and others, known and unknown to the Grand Jory, on or about

October 23,2014;

                   iv.        The murder of Krystal Jackson by ROMEO BLACKMAN

and TERRANCE SMITH on or about November L9,2Ol4;

                   v.         The murder of Andre Donner by ROMEO BLACKMAN and

others, known and unknown to the Grand       Jrry,   on or about December 13,2015;

                   ri.        The murder of Davon Horace by ROMEO BLACKMAN and

others, known and unknown to the Grand      Jrry,    on or about January 15,20L61;

                  vII.        The murder of Gerald Sias by ROMEO BLACKMAN,

NATIIANIEL MCELROY and others, known and unknown to the Grand Jury on or

about May 26,2016;
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 9 of 25 PageID #:167




                   vrii.     The murder of Ramal Hicks by JOLICIOUS TURMAN and

others, known and unknown to the Grand      Jrry,   on or about June 20,2016;

                    ix.      The murder of Gerald Bumper by individuals, known and

unknown to the Grand Jrry, on or about June 30, 2016; and

                     x.      The murder of Kenneth Whittaker by JOLICIOUS
TURMAN, and others, known and unknown to the Grand Jrry, on or about July              1,

20t6.

              p.       Members   of the enterprise and their    associates committed

attempted murders in the conduct of the affairs of the enterprise, including but not

Iimited to, the following:

                     i.      The attempted murders of Victim 1, Victim 2 andVictim 3

by ROMEO BLACKMAN and TERRANCE SMITH on or about November lg,20L4;

                    ii.      The attempted murder of Victim 4 by TERRANCE SMITH

on or about February 4, 2015; and

                    iii.     The attempted murder ofVictim 5 and Victim 6 by ROMEO

BLACKMAN, NATHANIEL MCELROY, and others, known and unknown to the

Grand Jury on or about May 26,20L6.

             q.        Defendants and their associates committed assaults       with   a

dangerous weapon and assault resulting in serious injury in the conduct of the affairs

ofthe enterprise.
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 10 of 25 PageID #:167




              NOTICE OF SPECIAL FINDINGS FOR COT.]NT ONE

      L2.      Each of the murders identified in Paragraph 11(o) was committed in

violation of Chapter 720,Illinois Compiled Statutes, Section 5/9-1(a), in that in each

instance, the named defendants killed the named victim without lawful justifi.cation

in performing acts which caused the death of the named victims: (a) intending to kill

and do great bodily harm to the named victim, and knowing that such acts would

cause death of the named victim; and (b) knowing       that such acts created a strong

probability of death and great bodily harm to the named victim;

      13.     Each of the murders identified in Paragraph 11(o)(i), (iii)-(viii), (x) was

committed    in violation of Chapter 720, Illinois Compiled Statutes, Section 5/9-
1(bX11),   in that in   each such instance (a) the murder was committed       in a cold,
calculated and premeditated manner pursuant to a preconceived plan, scheme and

design to take a human life by unlawful means; and (b) the conduct of the named

defendant(s) created a reasonable expectation that the death of a human being would

result therefrom;

      t4.     Each of the murders identified in Paragraph 11(o)(i)-(vi), and (viii), and

(x) was committed in violation of Chapter 730, Illinois Compiled Statutes, Section

5/5-8-1(d)(iii), in that ROMEO BLACKMAN (the murders in paragraph 11(oXi), (ii),

(v), and (vi)); TERRANCE SMITH (the murders in paragraph 11(o)(iii) and (iv), and

JOLICIOUS TURMAN (the murders in paragraph 11(o)(viii) and (x), each personally

discharged   a firearm that     proximately caused great bodily harm, permanent

disability, perrnanent disfigurement, and death to another person;


                                           10
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 11 of 25 PageID #:167




         15.     The murder identified in Paragraph 11(o)(iii) was committed in violation

of Chapter 720,Illinois Compiled Statutes, Section 5/9-1(bX15), in that TERRANCE

SMITH intentionally discharged a firearm from a motor vehicle and the victim was

not present within the rnotor vehicle; and

         L6.     Each of the attempted murders identified in Paragraph 11(n)(i) and (ii)

was committed in violation of Chapter 730, Illinois Compiled Statutes, Section 515-8-

l(dxiii) in that TERRANCE SMITH personally discharged a firearm                     that
proximately caused great bodily harm, perrnanent disability, and permanent

disfigurement; and

        17. With respect to ROMEO BLACKMAN,                  TERRANCE SMITH, and

JOLICIOUS TURMAN they are each over 18 years of age and have each murdered

more than one victim, in violation of Chapter 730, Illinois Compiled Statutes, Section

5/5-8- 1(a)( 1)(c)(ii).

        All in violation of Title 18, United States Code, Section 1962(d).




                                            11
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 12 of 25 PageID #:167




                                       COI.]NT TWO

       The SPECIAL FEBRUARY 2017 GRAND JURY further charges:

       1.     Paragraphs One through Eight and paragraph Eleven (a) through (n) of

Count One are incorporated here.

       2.     At all times      relevant to this Indictment, the Goonie Enterprise,

including its leadership, membership, and associates, constituted an enterprise as

defined   in Title 18, United States Code, Section 1959(b)(2), namely a group of
individuals associated in fact, which was engaged in, and the activities of which

affected interstate and foreign commerce. The Goonie Enterprise constituted an

ongoing organization whose members functioned as a continuing unit for a common

purpose of achieving the objectives of the enterprise.

       3.     At times relevant to this Indictment, the Goonie Enterprise, through its

leadership, membership and associates, engaged in racketeering activity as defined

in Title 18, United States Code, Sections 1959(bX1), namely acts involving murder,

in violation of Illinois law.

       4.     On or about March      2-1,,   2014,   at Chicago, in the Northern District of
Illinois, Eastern Division,

                          ROMEO BLACKMAN, aka "O" or "O-Dog,"

defendant herein, and others known and unknown to the Grand Jrry, for the purpose

of gaining entrance to and maintaining and increasing position in the                Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly commit the




                                               12
     Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 13 of 25 PageID #:167




murder of an individual, namely, Alonzo Williams, in violation of the laws of the State

of   Illinois (Chapter ?20, Illinois Compiled Statutes, Sections 5/9-1,   515-1, and,5l5-2)i

         In violation of Title 18, United States Code, Section 1959(a)(1).




                                             13
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 14 of 25 PageID #:167




                                   COI]NT THREE

      The SPECIAL FEBRUARY          20ll   GRAND JURY further charges:

       1.    Paragraphs One through Three of Count TWo are incorporated here.

      2.     On or about October 23,20t4, at Chicago, in the Northern District of

Illinois, Eastern Division,

                     ROMEO BLACKMAN, aka "O" or "O-Dog" and
                          TERRANCE SMITH, aka "T,"

defendants herein, and others known and unknown            to the Grand Jury, for the
purpose of gaining entrance to and maintaining and increasing position in the Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly commit the

murder of an individual, namely, Stanley Bobo, in violation of the laws of the State

of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1, 515-1, and,5/5-2);

      In violation of Title 18, United States Code, Sections 1959(a)(1) and 2.




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  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 15 of 25 PageID #:167




                                    COI]I{T FOI.JR

       The SPECIAL FEBRUARY 2017 GRAND JURY further charges:

       1.    Paragraphs One through Three of Count TWo are incorporated here.

       2.    On or about November 79,2014, at Chicago, in the Northern District of

Illinois, Eastern Division,

                     ROMEO BLACKMAN, aka "O" or "O-Dog" and
                          TERRANCE SMITH, aka "T,"

defendant herein, and others known and unknown to the Grand Jory, for the purpose

of gaining entrance to and maintaining and increasing position in the            Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly commit the

murder of an individual, namely, Krystal Jackson, in violation of the laws of the State

of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1, 515-1, and 515-2);

      In violation of Title 18, United States Code, Sections 1959(a)(1) and2.




                                           15
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 16 of 25 PageID #:167




                                      COI]NT FTYE

          The SPECIAL FEBRUARY 20Ll GRAND JURY further charges:

          1.    Paragraphs One through Three of Count TWo are incorporated here.

          2.    On or about November L9,2014, at Chicago, in the Northern District of

Illinois, Eastern Division,

                        ROMEO BLACKMAN, aka "O" or "O-Dog" and
                             TERRANCE SMITH, aka "T,"

defendant herein, and others known and unknown to the Grand Jory, for the purpose

of gaining entrance to and maintaining and increasing position in the                 Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly attempt to

commit the murder of an individual, namely, Victim       1-,   in violation of the laws of the

State of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1, 5/5-!, and.

5t5-2);

          In violation of Title 18, United States Code, Sections 1959(a)(5) and2.




                                             16
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 17 of 25 PageID #:167




                                       COI]NT SD(

          The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

          1.    Paragraphs One through Three of Count T\vo are incorporated here.

          2.    On or about November 19,2014, at Chicago, in the Northern District of

Illinois, Eastern Division,

                       ROMEO BLACKMAN, aka "O" or "O-Dog" and
                            TERRANCE SMITH, aka "T,"

defendant herein, and others known and unknown to the Grand Jrry, for the purpose

of gaining entrance to and maintaining and increasing position in the              Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly attempt to

commit the murder of an individual, namely, Victim 2, in violation of the laws of the

State of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1, 5/5-1, and

5t5-2);

          In violation of Title 18, United States Code, Sections 1959(aX5) and2.




                                            77
   Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 18 of 25 PageID #:167




                                     COI]NT SE\MN

          The SPECIAL FEBRUARY 2OL7 GRAND JURY further charges:

          1.    Paragraphs One through Three of Count Two are incorporated here.

          2.    On or about November L9,2014, at Chicago, in the Northern District of

Illinois, Eastern Division,

                        ROMEO BLACKMAN, aka "O" or "O-Dog" and
                             TERRANCE SMITH, aka "T,"

defendant herein, and others known and unknown to the Grand Jory, for the purpose

of gaining entrance to and maintaining and increasing position in the               Goonie

Enterprise an enterprise engaged in racketeering activity, did knowingly attempt to

commit the murder of an individual, namely, Victim 3, in violation of the laws of the

State of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1, 5/5-1-, and

5/5-2);

          In violation of Title 18, United States Code, Sections 1959(aX5) and 2.




                                             18
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 19 of 25 PageID #:167




                                         COI]NT EIGHT

       The SPECIAL FEBRUARY 2017 GRAND JURY further charges:

       1.     Paragraphs One through Three of Count TWo are incorporated here.

       2.     On or about February 4, 20L5, at Chicago, in the Northern District of

Illinois, Eastern Division,

                                  TERRANCE SMITH, aka "T,"

defendant herein, and others known and unknown to the Grand Jrry, for the purpose

of gaining entrance to and maintaining and increasing position in the              Goonie

Enterprise, an enterprise engaged            in   racketeering activity, did knowingly and

intentionally commit assault with a dangerous weapon and assault resulting in

serious bodily injury upon an individual, namely, Victim 4, in violation of the laws of

the State of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/L2-3.05(aX1),

515-1, and 515-2);

       In violation of Title   1"8,   United States Code, Section 1959(aX3).




                                                  19
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 20 of 25 PageID #:167




                                    COI]NT NINE

       The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

   On or about February 4,2015, at Chicago, in the Northern District of Illinois,

   Eastern Division,

                              TERRANCE SMITH, aka "T,"

defendant herein, knowingly used, carried, brandished and discharged a firearm,

during and in relation to a crime of violence for which he may be prosecuted in a court

of the United States, namely an assault with a dangerous weapon in aid of
racketeering activity, in violation of Title   1-8,   United States Code, Section 1959(aX3)

as charged   in Count Eight of this Indictment;

      In violation of Title 18, United States Code, Section 92a(cX1)(A).




                                           20
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 21 of 25 PageID #:167




                                     COT]NT TEN

       The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

       1.    Paragraphs One through Three of Count Two are incorporated here.

       2.    On or about December 13,20L5, at Chicago, in the Northern District of

Illinois, Eastern Division,

                       ROMEO BLACKMAN, aka "O" or "O-Dog,"

defendant herein, and others known and unknown to the Grand Jrry, for the purpose

of gaining entrance to and maintaining and increasing position in the            Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly commit the

murder of an individual, namely, Andre Donner, in violation of the laws of the State

of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1, 515-L, and 515-2);

      In violation of Title 18, United States Code, Section 1959(aX1).




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  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 22 of 25 PageID #:167




                                  COTJNT ELEVEN

       The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

       1.     Paragraphs One through Three of Count Two are incorporated here.

       2.     On or about January L5, 2016, at Chicago, in the Northern District of

Illinois, Eastern Division,

                       ROMEO BLACKMAN, aka "O" or "O-Dog,"

defendant herein, and others known and unknown to the Grand Jrry, for the purpose

of gaining entrance to and maintaining and increasing position in the            Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly commit the

murder of an individual, namely, Davon Horace, in violation of the laws of the State

of Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1, 515-1, and 515-2);

      In violation of Title 18, United States Code, Section 19b9(a)(1).




                                           22
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 23 of 25 PageID #:167




                                   COT]NT TWELVE

       The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

       1.    Paragraphs One through Three of Count Two are incorporated here.

       2.    On or about June 20, 2016, at Chicago, in the Northern District of

Illinois, Eastern Division,

                              JOLICIOUS TURMAN, aka "Jo Jo,"

defendant herein, and others known and unknown to the Grand Jrry, for the purpose

of gaining entrance to and maintaining and increasing position in the               Goonie

Enterprise, an enterprise engaged in racketeering activity, did knowingly commit the

murder of an individual, namely, Ramal Hicks, in violation of the laws of the State of

Illinois (Chapter 720, Illinois Compiled Statutes, Sections 5/9-1,   515-1, and, SlS-2);

      In violation of ritle 18, United states code, section lgbg(a)(l).




                                          23
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 24 of 25 PageID #:167




                                FORFE ITIIRE ALLE GATION

The SPECIAL FEBRUARY 2O17GRAND JURY further alleges:

       1.        The allegations of Count One of this Indictment are incorporated here

for the purpose of alleging that certain property is subject to forfeiture to the United

States, pursuant to    title   L8, United States Code, Section 1963.

      2.         As a result of their violation of Title 18, United States Code, Section

t962(d), as alleged in the foregoing Indictment,

                         ROMEO BLACKMAN, alHa "O" or "O-Dog"
                              TERRANCE SMITH, AlW A,,T,,,
                          JOLICIOUS TURMAN, alWa "Jo Jo" and
                       NATHANIEL MCELROY, aMa "Nate" or "Nation"

defendants herein, shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 1963(a)(1) , (a)(2), and (aX3), &oy interest acquired or maintained

in violation of Section L962; any interest in, security of, claim against, or property or

contractual right of any kind affording a source of influence over, any enterprise

which the person has established, operated, controlled, conducted, or participated in

the conduct of, in violation of Section 1962; and any property consisting, or derived

from, any proceeds which the person obtained, directly or indirectly, from
racketeering activity or unlawful debt collection in violation of Section L962.

      3.         Ifany property    described above as being subject to forfeiture pursuant

to Title 18, United States Code, Section 1963(a)(1), (a)(2), and (a)(3), as a result of

any act or omission of the defendants:

            a.   Cannot be located upon the exercise of due diligence;

            b. Has been transferred to, sold to, or deposited with a third person;
                                               24
  Case: 1:18-cr-00728 Document #: 56 Filed: 01/24/19 Page 25 of 25 PageID #:167




           c. Has been placed beyond    the jurisdiction of the Court;

           d.   Has been suhstantially diminished in value;

           e. Has been commingled with other property which cannot        be subdivided

                without difficulty;

it is the intent of the United States to seek forfeiture of substitute property belonging

to the defendants under the provisions of Title 18, United States Code, Section
1963(m).


                                         A TRUE BILL:


                                         FOREPERSON




UNITED STATES ATIORNEY




                                           25
